Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 1 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 2 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 3 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 4 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 5 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 6 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 7 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 8 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                          Exhibit B Page 9 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 10 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 11 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 12 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 13 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 14 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 15 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 16 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 17 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 18 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 19 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 20 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 21 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 22 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 23 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 24 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 25 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 26 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 27 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 28 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 29 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 30 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 31 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 32 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 33 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 34 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 35 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 36 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 37 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 38 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 39 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 40 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 41 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 42 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 43 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 44 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 45 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 46 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 47 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 48 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 49 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 50 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 51 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 52 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 53 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 54 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 55 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 56 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 57 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 58 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 59 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 60 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 61 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 62 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 63 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 64 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 65 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 66 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 67 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 68 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 69 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 70 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 71 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 72 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 73 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 74 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 75 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 76 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 77 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 78 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 79 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 80 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 81 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 82 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 83 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 84 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 85 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 86 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 87 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 88 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 89 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 90 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 91 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 92 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 93 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 94 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 95 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 96 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 97 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 98 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 99 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 100 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 101 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 102 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 103 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 104 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 105 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 106 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 107 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 108 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 109 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 110 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 111 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 112 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 113 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 114 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 115 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 116 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 117 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 118 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 119 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 120 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 121 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 122 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 123 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 124 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 125 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 126 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 127 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 128 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 129 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 130 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 131 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 132 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 133 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 134 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 135 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 136 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 137 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 138 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 139 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 140 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 141 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 142 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 143 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 144 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 145 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 146 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 147 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 148 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 149 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 150 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 151 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 152 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 153 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 154 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 155 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 156 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 157 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 158 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 159 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 160 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 161 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 162 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 163 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 164 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 165 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 166 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 167 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 168 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 169 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 170 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 171 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 172 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 173 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 174 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 175 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 176 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 177 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 178 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 179 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 180 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 181 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 182 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 183 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 184 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 185 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 186 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 187 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 188 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 189 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 190 of 191
Case:17-03283-LTS Doc#:6810-2 Filed:05/02/19 Entered:05/02/19 04:46:38   Desc:
                         Exhibit B Page 191 of 191
